
Per Curiam.
*386Appellant challenges the trial court's summary denial of his 3.850 motion. We agree with Appellant that the court failed to attach portions of the record that conclusively establish that Appellant is not entitled to relief. We reverse the trial court's order and remand for the court to hold an evidentiary hearing on Appellant's ineffective assistance claim, or to attach portions of the record (not merely the State's response to the motion) that conclusively refute Appellant's claims. Morrison v. State , 860 So.2d 458, 460 (Fla. 1st DCA 2003) ; see Skellie v. State , 849 So.2d 1220, 1221 (Fla. 5th DCA 2003).
Ray, Kelsey, and Jay, JJ., concur.
